Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 1 of 64




                 EXHIBIT 22
 REDACTED VERSION
  OF DOCUMENT
SOUGHT TO BE SEALED
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 2 of 64


                                                                Page 1
               UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA

                  SAN FRANCISCO DIVISION



      ___________________________

      WAYMO LLC,                        )

                  Plaintiff,            )

             v.                         ) Case No.

      UBER TECHNOLOGIES, INC.;          ) 3:17-cv-00939-WHA

      OTTOMOTTO LLC;                    )

      OTTO TRUCKING,                    )

                  Defendants.           )

      ___________________________)



       HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY



          VIDEOTAPED DEPOSITION OF EDWARD RUSSO

               WEDNESDAY, DECEMBER 20, 2017




      REPORTED BY:

      PAUL J. FREDERICKSON, CCR, CSR

      JOB NO. 2771335



      PAGES 1 - 367
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 3 of 64


                                                               Page 13
 1            Q.      Okay.   You mentioned that you were     08:09:38

 2     doing research and assessment.      Can you tell me    08:09:56

 3     what that means?                                       08:09:58

 4            A.      Sure.   It involved doing research      08:09:59

 5     into competitors, both in the ridesharing              08:10:02

 6     marketplace and in the autonomous vehicle              08:10:07

 7     development marketplace.                               08:10:09

 8            Q.      And why was doing research into         08:10:11

 9     competitors important to Uber?                         08:10:13

10            A.      It was my understanding that Uber       08:10:17

11     wanted to have as good an assessment as they           08:10:19

12     could have regarding where its competitors             08:10:20

13     stood in the marketplace so they could gauge           08:10:25

14     its -- you know, where they stood vis-a-vis the        08:10:28

15     other companies.                                       08:10:31

16            Q.      Are you still doing that role?          08:10:33

17            A.      No.                                     08:10:33

18            Q.      Do you feel like you were               08:10:38

19     successful in carrying out the task that Uber          08:10:40

20     assigned to you in that role?                          08:10:42

21            A.      I would say yes.    We -- I carried     08:10:47

22     out those tasks.     Come springtime, there seemed     08:10:50

23     to be less interest in it, and my                      08:10:55

24     responsibilities shifted more to investigations        08:10:57

25     and then the Insider Risk Program.                     08:10:59
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 4 of 64


                                                               Page 40
 1                    MR. UMHOFER:    Quick clarification.    08:38:14

 2            When they spoke, current employees of           08:38:16

 3            those competitors or former employees of        08:38:18

 4            those competitors.     Just --                  08:38:21

 5                    MR. KAPGAN:    Okay.                    08:38:22

 6                    MR. UMHOFER:    I'm not sure it         08:38:23

 7            makes a difference to your answer.              08:38:26

 8                    THE WITNESS:    No.                     08:38:28

 9     BY MR. KAPGAN:                                         08:38:28

10            Q.      Did you understand that in my           08:38:29

11     question I was asking about existing employees         08:38:30

12     of those competitors?                                  08:38:33

13            A.      I assumed that, but no, I didn't.       08:38:36

14            Q.      Okay.                                   08:38:36

15                    So let me ask the follow-on             08:38:41

16     question.                                              08:38:43

17            A.      Yeah.                                   08:38:44

18            Q.      Are you aware of anyone at Uber         08:38:44

19     ever attempting to gather research or                  08:38:49

20     intelligence about a competitor of Uber's by           08:38:51

21     speaking to former employees of those                  08:38:54

22     competitors?                                           08:38:58

23            A.      No.                                     08:39:02

24            Q.      Are you aware of anyone at Uber         08:39:06

25     ever speaking to former Waymo or Google                08:39:13
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 5 of 64


                                                               Page 43
 1     about that conversation?                               08:41:39

 2            A.      No.    It was pretty short.   I mean,   08:41:42

 3     we weren't in the car that long.                       08:41:44

 4            Q.      When was that, approximately?           08:41:45

 5            A.      I do not remember.                      08:41:50

 6            Q.      Was it this year?                       08:41:53

 7            A.      Yes.   It would have been -- yeah,      08:41:56

 8     I honestly don't remember.      It would have been     08:41:58

 9     back in the spring maybe, February, March,             08:42:00

10     perhaps.                                               08:42:03

11            Q.      Are you aware of whether there are      08:42:03

12     any former Google or Waymo employees that are          08:42:23

13     employed by Uber?                                      08:42:24

14            A.      By name, no.    I assume there might    08:42:29

15     be, but I don't know any.                              08:42:31

16            Q.      And I take it you don't know            08:42:36

17     whether anyone at Uber has ever spoken to any          08:42:37

18     such employees, that is, former Google or Waymo        08:42:41

19     employees, about activities at Google or Waymo?        08:42:46

20            A.      No.                                     08:42:51

21            Q.      So going back to what we started        08:43:00

22     out with, you mentioned that you've been               08:43:02

23     involved in research and assessment, and we            08:43:03

24     talked about research.     Is assessment something     08:43:06

25     different?                                             08:43:07
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 6 of 64


                                                               Page 44
 1            A.       It's a natural follow-on.    You do    08:43:14

 2     the research, and then it was part of my job to        08:43:14

 3     draw some likely conclusions.      I'll give you an    08:43:17

 4     example.                                               08:43:20

 5                     When I first was hired, one of the     08:43:22

 6     first projects I had was to look at some of the        08:43:25

 7     key personalities in -- I think it was Google X        08:43:29

 8     at the time prior to Waymo.      So I did              08:43:34

 9     open-source research on, you know -- the key           08:43:36

10     personality at the time was a guy named Chris          08:43:38

11     Urmson.     This would have been back probably         08:43:42

12     September or so of 2016.                               08:43:44

13                    There was a lot of articles and         08:43:46

14     blog features on him.     One of them included --      08:43:49

15     allegedly, there was a tension between him and         08:43:54

16     a man named John Krafcik who had been hired to         08:43:56

17     oversee the program.     So you take that              08:44:01

18     open-source, summarize it, and then, you know,         08:44:03

19     the assessment would be, you know, if these            08:44:06

20     two -- obviously, if these two can't figure out        08:44:08

21     a way to live and work together, you know,             08:44:10

22     there could be a parting of the ways.       And, you   08:44:12

23     know, Google either loses a new executive or           08:44:15

24     they lose a -- a key engineer.                         08:44:18

25            Q.      And was part of that assessment to      08:44:23
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 7 of 64


                                                               Page 69
 1            Q.      Do you know if Mr. Gicinto did?         09:12:22

 2            A.      I believe so, yeah.                     09:12:23

 3            Q.      What do you understand that             09:12:25

 4     Mr. Gicinto worked with Ric Jacobs on?                 09:12:28

 5            A.      I can't say specifically.     I mean,   09:12:32

 6     I understand that they -- they worked on a few         09:12:35

 7     things together and -- but I -- nothing I had          09:12:37

 8     insight into.                                          09:12:42

 9            Q.      You don't know any of the details?      09:12:43

10            A.      No.                                     09:12:43

11            Q.      While you've been at Uber, have         09:12:59

12     you ever witnessed any activity that you               09:12:59

13     believed or considered was either unethical or         09:13:00

14     illegal?                                               09:13:03

15            A.      Can you be more specific?     Any       09:13:05

16     activity that was unethical?                           09:13:07

17                    MR. UMHOFER:    And I'm going to        09:13:11

18            object to this question again as beyond         09:13:12

19            the scope of the judge's order.      If you     09:13:13

20            want to limit it to the topics in the           09:13:15

21            judge's order on this deposition, then          09:13:18

22            you can answer.                                 09:13:20

23   BY MR. KAPGAN:                                           09:13:20

24            Q.      So let me ask it again.                 09:13:22

25                    While you've been at Uber, have         09:13:26
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 8 of 64


                                                               Page 70
 1     you ever witnessed any activity by either Uber         09:13:28

 2     personnel or their contractors or vendors that         09:13:34

 3     you believed or considered to be either                09:13:38

 4     unethical or illegal?                                  09:13:42

 5            A.      No.                                     09:13:44

 6                    MR. UMHOFER:    Same objection.         09:13:44

 7                    Just let me object first.               09:13:45

 8                    THE WITNESS:    Sorry.                  09:13:48

 9                    Please go ahead.                        09:13:49

10   BY MR. KAPGAN:                                           09:13:50

11            Q.      That's a no?                            09:13:50

12                    Do you have any understanding of        09:14:00

13     the circumstances of Mr. Jacobs' resignation?          09:14:01

14            A.      Some.   He had -- they -- as I          09:14:09

15     understood it, he had had performance issues.          09:14:14

16     So basically he was removed as a manager and           09:14:20

17     made an individual contributor.                        09:14:22

18            Q.      Is that your understanding of why       09:14:29

19     he resigned?                                           09:14:30

20            A.      I believe that was the big cause,       09:14:36

21     yes.                                                   09:14:37

22            Q.      Did you read his letter that --         09:14:38

23     the letter that his attorney sent to Uber              09:14:39

24     outlining his complaints?                              09:14:42

25            A.      The first time I saw that letter        09:14:43
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 9 of 64


                                                               Page 72
 1             Q.     Okay.                                   09:16:01

 2                    I take it you disagree that SSG         09:16:26

 3     frequently engaged in fraud and theft?                 09:16:33

 4             A.     You take it that I disagree with        09:16:38

 5     that?    Yes, I do disagree with that.                 09:16:39

 6             Q.     Do you know whether SSG employed        09:16:42

 7     third-party vendors to obtain unauthorized data        09:16:47

 8     or information?                                        09:16:49

 9             A.     Not to my knowledge.                    09:16:50

10             Q.     Mr. Jacobs made some allegations        09:16:58

11     with respect to the Marketplace Analytics              09:17:00

12     group.   Are you familiar with that?                   09:17:03

13             A.     The group or the allegations?           09:17:04

14             Q.     The allegations.                        09:17:06

15             A.     You would have to go through them       09:17:09

16     again, and I -- again, like I said, I don't            09:17:11

17     know much about Marketplace Analytics, so the          09:17:13

18     allegations he made, I don't know.                     09:17:16

19             Q.     Well, one of the things that            09:17:19

20     Mr. Jacobs said was that Marketplace Analytics         09:17:21

21     exists expressly for the purpose of acquiring          09:17:24

22     trade secrets, code base and competitive               09:17:27

23     intelligence.                                          09:17:31

24                    Do you remember those allegations?      09:17:32

25             A.     Yep.    Yes, I do.                      09:17:34
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 10 of 64


                                                                Page 73
 1              Q.     Do you have any basis to say one        09:17:36

 2      way or the other whether that's true?                  09:17:38

 3              A.     None whatsoever.                        09:17:40

 4              Q.     You don't know one way or the           09:17:42

 5      other; right?                                          09:17:44

 6              A.     I don't.   I don't believe it to be     09:17:44

 7      true, but I don't know.                                09:17:46

 8              Q.     Do you know whether Marketplace         09:17:55

 9      Analytics derived business metrics of supply,          09:17:58

10      demand and the function of applications from           09:18:00

11      major ride-sharing competitors globally?               09:18:04

12              A.     I don't know.   I don't know what       09:18:07

13      Marketplace Analytics does on a day-to-day             09:18:09

14      basis.                                                 09:18:12

15              Q.     Did you have interactions with          09:18:17

16      Craig Clark?                                           09:18:19

17              A.     Yes.                                    09:18:22

18              Q.     And what was Craig Clark's role at      09:18:23

19      the company as far as you know?                        09:18:27

20              A.     He was an in-house attorney, and        09:18:30

21      he was assigned, if you will, to the security          09:18:32

22      team.                                                  09:18:36

23              Q.     Was he the primary attorney within      09:18:38

24      the security team?                                     09:18:41

25              A.     That's my understanding.                09:18:43
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 11 of 64


                                                                Page 82
 1             Q.     Sure.                                    09:26:25

 2                    I think you testified that,              09:26:30

 3      generally speaking, if you're doing competitive        09:26:33

 4      intelligence-gathering activities, those               09:26:37

 5      were -- you understood those to be at the              09:26:38

 6      direction of counsel?                                  09:26:40

 7             A.     Yes.                                     09:26:40

 8             Q.     Okay.                                    09:26:40

 9                    So -- and do I understand                09:26:42

10      correctly that, as a result of that, you made          09:26:43

11      an effort when communicating in writing about          09:26:46

12      your competitive intelligence-gathering                09:26:50

13      activities that those should be labeled                09:26:53

14      attorney-client privilege.                             09:26:55

15                    MR. UMHOFER:    Objection, vague and     09:26:58

16             ambiguous.                                      09:26:59

17                    MS. CHANG:    Objection, misstates       09:26:59

18             prior testimony.                                09:27:02

19             A.     Okay.   Then -- would you mind one       09:27:06

20      more time?                                             09:27:09

21             Q.     Sure.                                    09:27:10

22                    Do I understand correctly that as        09:27:10

23      a result of you understanding that your                09:27:12

24      competitive intelligence-gathering activities          09:27:17

25      were at the direction of counsel --                    09:27:19
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 12 of 64


                                                                Page 83
 1             A.     Right.                                   09:27:21

 2             Q.     -- that you made an effort to            09:27:21

 3      label communications about those activities as         09:27:22

 4      attorney-client privilege?                             09:27:24

 5                    MR. UMHOFER:    Same objection.          09:27:25

 6                    MS. CHANG:    Objection, misstates       09:27:26

 7             prior testimony.                                09:27:28

 8             A.     Yeah.    I mean, my answer is what       09:27:32

 9      it was, which is, based on the training I had,         09:27:34

10      I understood there to be two -- two categories         09:27:39

11      for labeling something attorney-client                 09:27:42

12      privilege.   Right?    When soliciting advice or       09:27:44

13      guidance or if you're preparing a product that         09:27:48

14      had been at the direction of legal, those were         09:27:53

15      the times that I would use attorney-client             09:27:57

16      privilege.                                             09:27:59

17             Q.     And that included the times when         09:28:00

18      you did competitive intelligence-gathering             09:28:01

19      activities; right?                                     09:28:04

20             A.     If the report was at the direction       09:28:05

21      of legal, then I would label it appropriately,         09:28:09

22      as I understood it to be -- as I understood the        09:28:12

23      process.                                               09:28:16

24             Q.     All right.                               09:28:16

25                    And I think we established that          09:28:18
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 13 of 64


                                                                Page 90
 1             A.     I believe, yeah.     I believe it was    09:51:24

 2      September of this year.                                09:51:26

 3             Q.     And is it your understanding that        09:51:27

 4      communications done through the Wickr platform,        09:51:30

 5      there's no record of them kept; is that right?         09:51:33

 6             A.     For the most part, right.      As I      09:51:38

 7      understand it, there's a new version now that          09:51:40

 8      does keep a record, but yes.                           09:51:42

 9             Q.     But when you were using it, you          09:51:43

10      understood that essentially those                      09:51:46

11      communications would self-destruct within a            09:51:47

12      period of time?                                        09:51:49

13             A.     Yes.                                     09:51:50

14             Q.     And do you have an understanding         09:51:51

15      of what that period of time was?                       09:51:52

16             A.     Wickr allows you -- or as I              09:51:54

17      remember it, it allowed you to change those            09:51:55

18      settings.   But I think for the most part              09:51:59

19      everybody was like five or six days, something         09:52:01

20      to that effect.                                        09:52:05

21             Q.     And when would you use Wickr as          09:52:07

22      opposed to, let's say, email?                          09:52:10

23             A.     I think Wickr was kind of our            09:52:13

24      preferred method of communicating.      So --          09:52:21

25             Q.     And do you have any understanding        09:52:24
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 14 of 64


                                                                Page 91
 1      of why Wickr was the preferred method?                 09:52:27

 2             A.     Essentially -- you mentioned the         09:52:32

 3      ephemerality, but Wickr is also encrypted              09:52:34

 4      end-to-end communications.     So there's no           09:52:37

 5      chance of whatever you're discussing being             09:52:40

 6      intercepted by someone else.                           09:52:43

 7             Q.     So is it your understanding that         09:52:48

 8      the main reasons for using Wickr were the              09:52:49

 9      security and the ephemerality of the                   09:52:52

10      communication?                                         09:52:56

11             A.     Right, to protect our discussions.       09:52:57

12             Q.     So it was routine during the             09:53:02

13      course of your work to use Wickr to communicate        09:53:04

14      with others at the company; is that fair?              09:53:07

15             A.     Yes.   Well, within Threat Ops,          09:53:10

16      yes.                                                   09:53:12

17             Q.     And -- and do you have an                09:53:12

18      understanding that others within Threat Ops            09:53:14

19      also preferred and routinely used Wickr to             09:53:16

20      communicate with each other?                           09:53:19

21             A.     Yes, that was my understanding.          09:53:20

22             Q.     What about outside of Threat Ops?        09:53:22

23      Did -- do you have an understanding of whether         09:53:24

24      others used Wickr?                                     09:53:26

25             A.     My use of Wickr was pretty much my       09:53:28
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 15 of 64


                                                                Page 93
 1             A.      I did not.                              09:54:39

 2             Q.      Are you aware of others who did?        09:54:40

 3             A.      I believe Mr. Gicinto did, but I'm      09:54:43

 4      not certain.                                           09:54:45

 5             Q.      Was Wickr discussed during any of       09:54:52

 6      the meetings that you had with the ATG group in        09:54:54

 7      Pittsburgh?                                            09:54:59

 8             A.      No.    No, it was not.                  09:55:00

 9             Q.      Were there meetings happening as        09:55:02

10      far as you know with ATG group while you were          09:55:03

11      there that you were not involved in?                   09:55:06

12             A.      While I was where?    In Pittsburgh?    09:55:09

13             Q.      In Pittsburgh.                          09:55:10

14             A.      Not that I'm aware of.                  09:55:12

15             Q.      Other than using Wickr, have you        09:55:16

16      used other forms of ephemeral communications           09:55:23

17      while you've been at Uber to conduct Uber              09:55:25

18      business?                                              09:55:28

19             A.      Yes.   The ephemeral HipChat and        09:55:29

20      UChat are Uber-wide ephemeral platforms.               09:55:32

21             Q.      Did UChat replace HipChat?              09:55:40

22             A.      Yes, it did.                            09:55:42

23             Q.      Is UChat used at the company now?       09:55:44

24             A.      I believe it is.    Yes, it is.         09:55:47

25      Yeah, it is.                                           09:55:49
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 16 of 64


                                                                Page 95
 1             Q.      Did he explain that it was              09:57:12

 2      preferable to use telephone calls or                   09:57:14

 3      in-conference meetings because there wouldn't          09:57:20

 4      be a record of what was discussed during such          09:57:22

 5      meetings or phone calls?                               09:57:24

 6             A.      That was not my understanding of        09:57:25

 7      his explanation, no.                                   09:57:27

 8             Q.      Did he explain that it was              09:57:31

 9      preferable to use Wickr because there would not        09:57:32

10      be a record of communications that were had on         09:57:34

11      that platform?                                         09:57:37

12             A.      No, that was not my understanding.      09:57:40

13             Q.      Okay.                                   09:57:40

14                     But you understood that was the         09:57:42

15      effect of using Wickr?                                 09:57:43

16             A.      Yes.    Yeah.   Yeah.   And that was    09:57:45

17      desirable from the perspective of protecting           09:57:47

18      information.                                           09:57:50

19             Q.      Could documents be exchanged using      09:57:50

20      Wickr?                                                 09:58:05

21             A.      As I recall, they could not be          09:58:06

22      exchanged, but you could attach a document.            09:58:10

23      For example, I could attach a document send it         09:58:13

24      to you, you could read the document, but that          09:58:16

25      would be it.                                           09:58:19
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 17 of 64


                                                              Page 101
 1      were not preserved; correct?                           10:02:48

 2               A.    Correct.                                10:02:50

 3                     MS. CHANG:   Objection, vague and       10:02:50

 4               ambiguous as to time period.                  10:02:51

 5                     MR. UMHOFER:   And lack of              10:02:53

 6               foundation.                                   10:02:54

 7    BY MR. KAPGAN:                                           10:02:54

 8               Q.    And am I correct in assuming that       10:03:04

 9      after you were put on a legal hold, you                10:03:06

10      continued to have communications on Wickr?             10:03:08

11            A.       Yes.                                    10:03:14

12            Q.       And as far as you're aware, other       10:03:14

13      people within Threat Ops continued to                  10:03:18

14      communicate on Wickr as well?                          10:03:20

15            A.       Yes.                                    10:03:20

16            Q.       And so if I wanted to try to find       10:03:32

17      out or you wanted to try to find out about             10:03:34

18      prior communications that you had on Wickr, you        10:03:39

19      wouldn't be able to access those at this point;        10:03:41

20      right?                                                 10:03:44

21            A.       No.                                     10:03:44

22            Q.       Yes or no, were you given any           10:03:54

23      instruction about using or not using Wickr             10:03:57

24      after you were put on a legal hold?                    10:04:03

25            A.       I'm not sure that's a yes-or-no         10:04:11
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 18 of 64


                                                               Page 102
 1      question.    But the legal hold I received, as I       10:04:12

 2      recall, stated we could not discuss Ric Jacobs         10:04:17

 3      or those matters pending via Wickr.       It did not   10:04:20

 4      say we couldn't continue our other business via        10:04:24

 5      Wickr.                                                 10:04:27

 6                     MS. CHANG:   I'm allowing the           10:04:27

 7               witness to answer this line of                10:04:28

 8               questioning pursuant to the 502               10:04:30

 9               stipulation that the parties have in          10:04:33

10             place relating to this issue.                   10:04:35

11    BY MR. KAPGAN:                                           10:04:35

12             Q.      After you received that legal           10:04:48

13      hold, did you, in fact, discuss any of the             10:04:49

14      issues raised in the Ric Jacobs attorney letter        10:04:55

15      or any other matters about Ric Jacobs via              10:04:59

16      Wickr?                                                 10:05:03

17             A.      No.                                     10:05:03

18             Q.      Are you aware of anyone else who        10:05:04

19      did?                                                   10:05:05

20             A.      No, I'm not aware.                      10:05:06

21             Q.      During the course of your time at       10:05:06

22      Uber, have you ever discussed Waymo or Google          10:05:15

23      with other folks at Uber via Wickr?                    10:05:19

24             A.      I'm sure I have, yes.                   10:05:27

25             Q.      Can you give me the context?            10:05:29
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 19 of 64


                                                              Page 105
 1            Q.      In other words, you're not aware         10:08:41

 2      of anyone at Uber using ephemeral                      10:08:43

 3      communications for the purpose of destroying           10:08:45

 4      evidence of any sort?                                  10:08:49

 5            A.      Correct.   For the purpose of            10:08:51

 6      destroying evidence or the other thing you             10:08:53

 7      said, evading discovery, no, I'm not aware of          10:08:55

 8      anyone who has done that.                              10:08:58

 9            Q.      You never had any conversations          10:09:12

10      with Mr. Gicinto or Mr. Clark on that subject?         10:09:14

11            A.      On what subject?                         10:09:17

12            Q.      On the subject of using Wickr, as        10:09:18

13      an example, to prevent discovery of certain            10:09:23

14      information in litigation.                             10:09:27

15            A.      No.                                      10:09:27

16            Q.      You said that you had some               10:09:45

17      projects that you worked on with Mr. Jacobs; is        10:09:46

18      that right?                                            10:09:46

19            A.      No, I did not say that.                  10:09:50

20            Q.      Okay.                                    10:09:51

21                    Can you remind me again, what was        10:10:00

22      your interaction with Mr. Jacobs?      What did        10:10:02

23      that consist of?                                       10:10:04

24            A.      I met him a handful of times when        10:10:07

25      I came out to San Francisco, a couple of times         10:10:08
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 20 of 64


                                                              Page 106
 1      in the office.      There were a couple of team        10:10:11

 2      dinners.                                               10:10:17

 3            Q.      During the course of his                 10:10:19

 4      employment at Uber, did you ever become aware          10:10:21

 5      of any objections that Mr. Jacobs made to any          10:10:25

 6      practices taking place at Uber?                        10:10:29

 7            A.      No.     No, I'm not aware of him         10:10:30

 8      making any objections.                                 10:10:33

 9            Q.      Did you discuss with Mr. Gicinto         10:10:37

10      at any time the objections or allegations that         10:10:40

11      Mr. Jacobs made in his attorney letter to Uber?        10:10:46

12            A.      No.    I did not see the letter and      10:10:50

13      nobody discussed it with me.                           10:10:54

14            Q.      Okay.                                    10:10:56

15                    So in terms of the allegations in        10:11:00

16      Mr. Jacobs' letter, other than with your               10:11:01

17      attorneys, you haven't actually discussed those        10:11:06

18      allegations with anyone at Uber; is that right?        10:11:07

19            A.      At Uber?                                 10:11:10

20            Q.      Yeah.                                    10:11:11

21            A.      No.    There was an internal             10:11:12

22      investigation conducted by Wilmer Hale.       They     10:11:13

23      asked a series of questions.                           10:11:16

24                    MS. CHANG:    I would like to            10:11:19

25            interject here.     I would like to caution      10:11:20
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 21 of 64


                                                              Page 109
 1            A.      Misattributable devices, yes.            10:13:33

 2            Q.      Okay.                                    10:13:34

 3                    What are misattributable devices?        10:13:36

 4            A.      Those are devices that don't tie         10:13:38

 5      directly back to you as a user.                        10:13:40

 6            Q.      Have you sometimes heard those           10:13:46

 7      referred to as nonattributable devices?                10:13:48

 8            A.      Yes.                                     10:13:50

 9            Q.      Same thing, as far as you know?          10:13:51

10            A.      As far as I know, there is nothing       10:13:54

11      as a nonattributable device.     It's going to         10:13:58

12      attribute to something.                                10:14:01

13            Q.      Did Uber purchase misattributable        10:14:03

14      devices?                                               10:14:06

15            A.      Yes.                                     10:14:07

16            Q.      For what purpose?                        10:14:08

17            A.      Two purposes:    We had -- whenever      10:14:12

18      research was being done into a hostile actor,          10:14:18

19      particularly overseas, you would use a                 10:14:22

20      misattributable device for that.                       10:14:26

21                    We also had a -- a system set up         10:14:28

22      to protect our most sensitive information.       So    10:14:31

23      we would use the misattributable device to log         10:14:34

24      into that.                                             10:14:37

25            Q.      What kind of sensitive information       10:14:43
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 22 of 64


                                                              Page 114
 1            Q.       These were laptops?                     10:18:43

 2            A.       Yes.                                    10:18:43

 3            Q.       What was your understanding as to       10:18:50

 4      why the SSG reports were being stored on the           10:18:51

 5      Nextcloud system that was not Uber's primary           10:18:55

 6      system?                                                10:18:59

 7            A.       Security.                               10:19:00

 8            Q.       Was there a belief that Uber's own      10:19:02

 9      systems were not secure enough?                        10:19:05

10                     MR. UMHOFER:   Objection, calls for     10:19:08

11            speculation.                                     10:19:08

12    BY MR. KAPGAN:                                           10:19:10

13            Q.       Do you understand it?                   10:19:10

14            A.       It was -- the -- being hacked was       10:19:12

15      a concern, yes.                                        10:19:14

16            Q.       What was your understanding, if         10:19:14

17      you had any, as to why these SSG reports were          10:19:36

18      deemed to be the kind of information that              10:19:40

19      should be on Nextcloud's system as opposed to          10:19:43

20      any other information that Uber had?                   10:19:47

21            A.       Say that again.                         10:19:51

22            Q.       Sure.                                   10:19:52

23                     As I understand it, your                10:19:54

24      understanding is that the only type of                 10:19:55

25      information that was stored on these -- on this        10:19:59
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 23 of 64


                                                              Page 115
 1      Nextcloud system were these SSG reports;               10:20:03

 2      correct?                                               10:20:06

 3            A.       Yes.                                    10:20:06

 4            Q.       Do you have any understanding of        10:20:07

 5      why there was no other information of Uber that        10:20:08

 6      was stored on Nextcloud systems, given the             10:20:13

 7      concern for hacking?                                   10:20:17

 8            A.       I -- I don't know why.    I know it     10:20:18

 9      was set up to protect our information.                 10:20:21

10            Q.       Do you have an understanding of         10:20:23

11      who knew about the Nextcloud system?                   10:20:25

12            A.       Well, obviously all those of us         10:20:32

13      who used it.   Mat Henley, Craig Clark, Joe            10:20:34

14      Sullivan.   I imagine there's a few others.            10:20:40

15            Q.       How many different people used the      10:20:45

16      system?                                                10:20:47

17            A.       Let's see.   Seven or eight or so.      10:20:50

18            Q.       These were all folks who were in        10:21:01

19      the SSG group?                                         10:21:03

20            A.       Or Threat Ops.                          10:21:04

21            Q.       Can you tell me who you believe         10:21:07

22      those folks were?                                      10:21:08

23            A.       Myself, Nick Gicinto, Jake Nocon,       10:21:10

24      Anna Chung, Mat Henley, Susan Chiang.      I'm not     10:21:15

25      sure if there were others, but I think                 10:21:24
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 24 of 64


                                                              Page 116
 1      that's -- that might be it.                            10:21:25

 2               Q.     Do you know when that system was       10:21:29

 3      first created, the Nextcloud system?                   10:21:30

 4               A.     I want to say January of this          10:21:35

 5      year, 2017.                                            10:21:36

 6               Q.     Does it still exist?                   10:21:38

 7               A.     No.                                    10:21:38

 8               Q.     Why not?                               10:21:45

 9               A.     The decision was made to take it       10:21:45

10      down because it was very expensive, too clunky,        10:21:47

11      not -- it was secure, but it was not very user         10:21:51

12      friendly.     So --                                    10:21:56

13            Q.       So what happened to the reports         10:21:58

14      that -- that were stored on there?                     10:21:59

15            A.       Nick pulled all those down off the      10:22:00

16      cloud.    He has those.                                10:22:03

17            Q.       Were they put on Uber's main            10:22:04

18      systems?                                               10:22:07

19            A.       I do not know.   I don't believe        10:22:07

20      so, but I do not know.                                 10:22:09

21            Q.       Do you have any understanding of        10:22:10

22      why those reports were not put on Uber's main          10:22:12

23      system?                                                10:22:14

24            A.       No, I don't know.                       10:22:16

25            Q.       Do you know when the decision was       10:22:22
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 25 of 64


                                                              Page 118
 1            Q.       Do you have an understanding that       10:23:38

 2      Dropbox was deemed to be not sufficiently              10:23:40

 3      secure and that was the reason for transferring        10:23:43

 4      to Nextcloud?                                          10:23:46

 5            A.       The Nextcloud system was                10:23:49

 6      contracted and put in place to have a more             10:23:52

 7      secure system.       So yes.                           10:23:54

 8            Q.       Was that the primary reason of --       10:23:57

 9      of moving to Nextcloud?                                10:23:59

10            A.       Yes.    Yeah.                           10:24:01

11            Q.       Do you have an understanding that       10:24:08

12      the SSG reports were removed from Dropbox              10:24:09

13      during that transition period?                         10:24:11

14            A.       Yes.                                    10:24:11

15            Q.       Were there any other systems other      10:24:23

16      than Dropbox and Nextcloud that you're aware of        10:24:25

17      that were used to store sensitive Uber                 10:24:27

18      information?                                           10:24:30

19            A.       No.                                     10:24:30

20            Q.       The SSG reports that were stored        10:24:44

21      on Dropbox and then Nextcloud, can you tell me         10:24:46

22      the kinds of reports that were stored there?           10:24:51

23            A.       Sure.    Some were research and         10:24:56

24      assessments on competitors.     Some were reports      10:25:00

25      about situations in foreign countries that             10:25:03
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 26 of 64


                                                              Page 119
 1      beared on Uber's operations there.                     10:25:07

 2              Q.    Any other types of reports?              10:25:11

 3              A.    Probably, but, I mean,                   10:25:18

 4      specifically I can't think of.      Those are          10:25:19

 5      the -- the two primary types we would write.           10:25:21

 6              Q.    Were any of these reports, to your       10:25:23

 7      knowledge, ever sent to individuals outside of         10:25:31

 8      Threat Ops team?                                       10:25:35

 9              A.    I don't know.                            10:25:44

10              Q.    Do you know if there was any             10:25:45

11      policy that -- in place that, written or               10:25:46

12      unwritten, that such reports, given the                10:25:50

13      sensitive nature and the fact that they existed        10:25:52

14      on this non-Uber system, should not be sent to         10:25:56

15      folks outside of the Threat Ops team?                  10:25:59

16              A.    I don't know of any policy.       I      10:26:03

17      mean, if the report was prepared at the                10:26:05

18      direction of a customer or, you know, had value        10:26:12

19      to somebody, I'm certain it was showed to them.        10:26:14

20              Q.    When you say "customer," you're          10:26:22

21      referring to internal Uber folks or someone            10:26:23

22      else?                                                  10:26:25

23              A.    Internal Uber, yes.                      10:26:26

24              Q.    Do you have any understanding of         10:26:33

25      how many different reports were contained on           10:26:35
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 27 of 64


                                                              Page 125
 1      Uber procurement purchase, then it's an -- it's        10:31:40

 2      obviously and clearly an Uber laptop.      So by --    10:31:44

 3      by going outside to a contractor and purchasing        10:31:48

 4      that way, it -- basically that's part of what          10:31:50

 5      makes it misattributable.                              10:31:53

 6            Q.      You're saying that if Uber itself        10:31:55

 7      purchased a laptop, that others who are viewing        10:31:58

 8      that laptop, accessing, for example, a computer        10:32:04

 9      system on the Internet would be able to figure         10:32:07

10      out that that laptop came from Uber?      Is that      10:32:09

11      the idea?                                              10:32:13

12            A.      I think so.    Again, now you're         10:32:14

13      getting into the technical stuff that I really         10:32:15

14      can't speak to.                                        10:32:18

15            Q.      Aside from laptop computers, what        10:32:25

16      other kinds of misattributable devices are you         10:32:27

17      aware of that were purchased by Uber?                  10:32:29

18            A.      The MiFi is to connect to the            10:32:31

19      Internet.                                              10:32:35

20            Q.      Any -- any other devices?                10:32:43

21            A.      Not to my knowledge.                     10:32:44

22            Q.      Did I understand correctly that to       10:32:45

23      access the Nextcloud system, folks at Uber             10:32:54

24      exclusively used misattributable devices?              10:32:57

25            A.      Yes.                                     10:33:03
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 28 of 64


                                                              Page 132
 1                    I caution the witness not to             10:40:23

 2            disclose the substance of any privileged         10:40:24

 3            communication.                                   10:40:26

 4            A.      If you're asking me, did the             10:40:28

 5      misattributable devices exist to avoid                 10:40:31

 6      discovery, then the answer is no.                      10:40:34

 7            Q.      No.   My question was just, did you      10:40:37

 8      have any understanding that use of                     10:40:40

 9      misattributable or nonattributable devices,            10:40:45

10      that activities with respect to those -- that          10:40:48

11      use would not be subject to legal discovery?           10:40:52

12                    MR. UMHOFER:    Objection, vague and     10:40:55

13            ambiguous, calls for speculation.                10:40:56

14            A.      Yeah, I -- if I understand the           10:41:00

15      question, was this -- were these used to avoid         10:41:02

16      legal discovery, then the answer is no.                10:41:07

17            Q.      Did you have any understanding           10:41:09

18      that one effect of using such devices would be         10:41:10

19      to avoid discovery?                                    10:41:13

20            A.      No, I had no such understanding.         10:41:15

21            Q.      Do you have any understanding of         10:41:28

22      whether any of the information that was                10:41:29

23      uploaded to Dropbox or Nextcloud as part of            10:41:31

24      this alternative system, that any of that              10:41:35

25      information was ever destroyed or deleted?             10:41:38
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 29 of 64


                                                              Page 135
 1      or the other about those allegations?                  10:44:13

 2            A.       I have no knowledge about those         10:44:15

 3      allegations.                                           10:44:17

 4            Q.       There are also allegations by           10:44:21

 5      Mr. Jacobs that the Marketplace Analytics team         10:44:23

 6      used certain tactics to obtain trade secrets           10:44:26

 7      from third parties.    Do you have any knowledge       10:44:29

 8      about that?                                            10:44:32

 9            A.       I do not.                               10:44:35

10            Q.       Did you ever witness anyone at          10:44:36

11      Uber obtain confidential information or trade          10:44:38

12      secrets from a third party?                            10:44:40

13            A.       No.                                     10:44:40

14            Q.       There are some allegations about        10:45:00

15      you in the letter, which I'm sure you're               10:45:01

16      familiar -- familiar with.                             10:45:03

17            A.       Yes.                                    10:45:04

18            Q.       It -- one of those allegations is       10:45:06

19      that you were actively engaged in human                10:45:09

20      intelligence and identifying market penetration        10:45:14

21      opportunities for Uber in the                          10:45:16

22      market specifically.                                   10:45:20

23                     Is that a fair -- is that               10:45:21

24      allegation true?                                       10:45:22

25            A.       The allegation is not true.             10:45:24
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 30 of 64


                                                              Page 137
 1               A.   You would have to ask Mr. Jacobs         10:46:03

 2      because I do not.                                      10:46:05

 3               Q.   He also stated that part of your         10:46:08

 4      role was to enable competitive intelligence and        10:46:10

 5      the theft of trade secrets by developing               10:46:13

 6      sources within competitor organizations.               10:46:16

 7      That's what you just mentioned as human                10:46:17

 8      intelligence.                                          10:46:20

 9               A.   Yes.                                     10:46:20

10            Q.      I take it you deny that                  10:46:20

11      allegation?                                            10:46:22

12            A.      You take that correctly.     I           10:46:22

13      absolutely deny that allegation.                       10:46:24

14            Q.      Did you ever have an opportunity         10:46:25

15      to vet insiders at competitor organizations?           10:46:27

16            A.      No.                                      10:46:27

17            Q.      Prior to you learning about the          10:46:45

18      Jacobs allegations, did you ever hear the              10:46:47

19      allegation that Uber stole trade secrets from          10:46:53

20      Waymo?                                                 10:46:56

21            A.      Say that again.    Prior to the          10:46:58

22      Jacobs letter?                                         10:46:59

23            Q.      Yes.                                     10:46:59

24            A.      Just what was in the news when the       10:47:01

25      lawsuit, you know, became public or was filed          10:47:03
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 31 of 64


                                                              Page 141
 1      as you know, that was responsible for doing the        10:50:17

 2      things that SSG was doing prior to the time            10:50:18

 3      that SSG was formed?                                   10:50:20

 4               A.     Not to my knowledge.                   10:50:21

 5               Q.     Now, there's an allegation by          10:50:34

 6      Mr. Jacobs that Russo, Gicinto and Nocon               10:50:36

 7      traveled to Pittsburgh and educated the team on        10:50:40

 8      using ephemeral communications, nonattributable        10:50:42

 9      devices and false attorney-client privilege            10:50:45

10      designations.                                          10:50:49

11                    Do you generally recall that?            10:50:50

12            A.      I recall his allegation, yes.            10:50:53

13            Q.      True or not true?                        10:50:56

14            A.      Not true.                                10:50:57

15            Q.      None of that happened; is that           10:51:04

16      right?                                                 10:51:04

17            A.      Mr. Gicinto and I traveled to            10:51:04

18      Pittsburgh, Mr. Nocon and I traveled to                10:51:04

19      Pittsburgh, Mr. Gicinto and I traveled to              10:51:06

20      Pittsburgh again.    Yes, that's true.    We never     10:51:08

21      discussed using ephemeral communications or            10:51:11

22      misattribute devices with anybody there.       That    10:51:16

23      was not the purpose of the trip.       Never           10:51:18

24      happened.                                              10:51:20

25            Q.      And you didn't discuss                   10:51:20
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 32 of 64


                                                              Page 142
 1      attorney-client privileged designations; right?        10:51:23

 2            A.       Did not discuss attorney-client --      10:51:23

 3                     [Reporter clarification.]               10:51:23

 4            Q.       You didn't discuss attorney-client      10:51:23

 5      privileged designations; right?                        10:51:23

 6            A.       Correct, I did not discuss              10:51:26

 7      attorney-client privileged designations.               10:51:28

 8                     MS. CHANG:    Counsel, when you're      10:51:30

 9            at a good stopping point.     We've been         10:51:39

10            going over an hour.                              10:51:41

11                     MR. KAPGAN:   Let's do it.              10:51:42

12                     THE VIDEOGRAPHER:   We're going off     10:51:43

13            the record.    The time is 10:52 a.m.            10:51:44

14                     [Recess at 10:52 a.m.]                  10:52:24

15                     [Resuming at 11:05 a.m.]                10:52:28

16                     THE VIDEOGRAPHER:   We are back on      11:04:56

17            the record.    The time is 11:05 a.m.            11:04:58

18                 EXAMINATION CONTINUING                      11:04:58

19    BY MR. KAPGAN:                                           11:04:58

20            Q.       We talked a little earlier,             11:05:01

21      Mr. Russo, about human intelligence activities,        11:05:02

22      which I understood to mean trying to gather            11:05:06

23      trade secrets and confidential information from        11:05:09

24      folks employed by third-party competitors as an        11:05:14

25      example; correct?                                      11:05:16
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 33 of 64


                                                              Page 143
 1              A.    Yes, that was discussed.                 11:05:21

 2              Q.    Are you aware of anyone at Uber          11:05:22

 3      ever doing that?                                       11:05:24

 4              A.    Doing what?                              11:05:26

 5              Q.    Those kinds of human                     11:05:27

 6      intelligence-gathering activities.                     11:05:29

 7              A.    No.                                      11:05:39

 8              Q.    Mr. Jacobs in his attorney's             11:05:43

 9      letter refers to some surveillance activities          11:05:46

10      with respect to       .                                11:05:50

11                    Do you remember that?                    11:05:51

12              A.    I remember him referring to that         11:05:53

13      in his letter, yes.                                    11:05:55

14              Q.    And you had mentioned earlier in         11:05:56

15      the deposition today that you understood that          11:05:58

16      there was some surveillance happening with             11:06:01

17      respect to      ; is that right?                       11:06:03

18              A.    Yes.    Prior to my being hired,         11:06:05

19      yes.                                                   11:06:06

20              Q.    Okay.                                    11:06:07

21                    And what is it that -- what do you       11:06:11

22      know, based on talking to others at Uber,              11:06:14

23      happened with respect to the surveillance              11:06:17

24      activities that Uber conducted with respect to         11:06:19

25          ?                                                  11:06:22
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 34 of 64


                                                                     Page 148
 1               Q.         Have you been involved -- I think        11:10:57

 2      you mentioned that you were involved in doing                11:10:57

 3      research about             ?                                 11:10:59

 4               A.         Yes.                                     11:10:59

 5               Q.         It's a competitor in          ; right?   11:11:02

 6               A.         Correct.      A ridesharing company      11:11:05

 7      there.                                                       11:11:07

 8               Q.         Are you aware of any confidential        11:11:19

 9      information or trade secrets of                  that        11:11:26

10      anyone at Uber has obtained?                                 11:11:29

11            A.        Confidential information or trade            11:11:39

12      secrets?      No.                                            11:11:39

13            Q.        I take it there's other kinds of             11:11:43

14      information that individuals at Uber have                    11:11:45

15      obtained from                                                11:11:46

16            A.        Yes, there is.                               11:11:50

17            Q.        Can you give me some examples?               11:11:50

18            A.        It's a very competitive market               11:11:53

19      there.    It's a very competitive market.          Part      11:11:55

20      of the competition is for drivers, to have                   11:11:58

21      drivers on your platform.                                    11:12:01

22                      So             made it a requirement that    11:12:02

23      if you're going to drive for them, you have to               11:12:10

24      provide        -- and you're also an Uber driver,            11:12:12

25      you have to provide               your Uber credentials      11:12:16
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 35 of 64


                                                              Page 181
 1      forth but that our engineering teams didn't            11:52:08

 2      have the resources to be able to build that.           11:52:11

 3             Q.     Did -- as far as you know, did           11:52:14

 4      Mr. Gicinto think it was a good idea to create         11:52:17

 5      such a database?                                       11:52:20

 6             A.     Yeah, I don't believe he objected        11:52:21

 7      to it.                                                 11:52:23

 8             Q.     So the reason as far as you're           11:52:28

 9      aware that Mr. Jacobs' proposal to create this         11:52:30

10      kind of intelligence database did not proceed          11:52:34

11      was simply because there weren't sufficient            11:52:37

12      internal resources at Uber to make it happen?          11:52:42

13             A.     That was my understanding, yes.          11:52:46

14             Q.     Did you have an understanding that       11:52:48

15      the proposal would include taking the                  11:52:51

16      information that resided on the Nextcloud              11:52:57

17      system and putting that onto some kind of              11:53:02

18      centralized repository maintained by Uber?             11:53:04

19             A.     I -- I don't know whether that was       11:53:07

20      going to be the result of that as well.                11:53:08

21             Q.     Do you know whether Mr. Jacobs           11:53:11

22      knew about the Nextcloud system?                       11:53:12

23             A.     I don't know whether he knew or          11:53:14

24      not.                                                   11:53:16

25             Q.     With respect to this intelligence        11:53:34
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 36 of 64


                                                              Page 237
 1      was an update that was scheduled and that it           14:02:28

 2      had been cancelled or postponed or some such,          14:02:30

 3      so I don't remember exactly how the whole thing        14:02:33

 4      transpired.                                            14:02:35

 5               Q.   How many reports of this type do         14:02:38

 6      you recall being generated?                            14:02:40

 7               A.   After this one, probably one,            14:02:48

 8      maybe two more, but I think one more.                  14:02:50

 9               Q.   Were there any before this?              14:02:53

10            A.      I believe this would be the first,       14:02:56

11      December 2016.                                         14:02:58

12            Q.      And was there a particular person        14:03:03

13      who commissioned or authorized this report?            14:03:04

14            A.      It's my understanding that               14:03:07

15      Mr. Sullivan wanted this information, yes.             14:03:09

16            Q.      And, generally, can you tell me,         14:03:15

17      what's the purpose of this document?                   14:03:17

18            A.      Basically to provide a sense of          14:03:22

19      the lay of the land, as it were, regarding the         14:03:26

20      various leaders in the autonomous vehicle              14:03:30

21      field.                                                 14:03:34

22            Q.      And do you know why that was             14:03:36

23      important for Mr. Sullivan or Uber to have?            14:03:39

24            A.      I do not know why.    I mean, my         14:03:43

25      assumption, of course, was that -- I mean,             14:03:45
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 37 of 64


                                                               Page 238
 1      you're in the race for groundbreaking                  14:03:48

 2      technology.   You want to kind of have an              14:03:50

 3      understanding of where you are in that race as         14:03:53

 4      best you can.                                          14:03:55

 5            Q.      Did you lead the drafting of this        14:04:02

 6      document?                                              14:04:04

 7            A.      I think, yeah, that's a fair             14:04:04

 8      characterization.                                      14:04:07

 9            Q.      You had ownership over it?               14:04:07

10            A.      Uh-huh.                                  14:04:09

11            Q.      Yes?   I just want to make sure          14:04:09

12      it's audible for the record.      Yes?                 14:04:11

13            A.      Yes.   I'm sorry.                        14:04:14

14            Q.      All right.                               14:04:14

15                    If you turn to the second page.          14:04:19

16      It says "TLDR" at the top.                             14:04:28

17            A.      Yes.                                     14:04:30

18            Q.      What does that stand for?                14:04:31

19            A.      Apparently, that's either an Uber        14:04:31

20      or Silicon Valley thing.     It means too long.    I   14:04:34

21      didn't read it.                                        14:04:36

22            Q.      And so is this basically an              14:04:37

23      executive summary of the document?                     14:04:39

24            A.      Yeah, that's exactly what it is.         14:04:40

25            Q.      And then if you look at the first        14:04:42
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 38 of 64


                                                              Page 240
 1            Q.      And that was based on what?              14:05:25

 2            A.      Based on interviews with our own         14:05:27

 3      ATG employees as well as open-source reporting,        14:05:29

 4      newspaper articles and such.                           14:05:33

 5            Q.      All right.                               14:05:38

 6                    Third bullet says:                       14:05:39

 7                    "There are indicators Turtle may         14:05:39

 8      now be a significant threat in the AV race."           14:05:39

 9                    Right?                                   14:05:39

10            A.      Yes.                                     14:05:45

11            Q.      That's a reference to          ?         14:05:45

12            A.      It's a reference to            yes.      14:05:46

13            Q.      And where did you learn that?            14:05:48

14            A.      A combination, again, of                 14:05:49

15      open-source, newspaper articles and what have          14:05:51

16      you, and our own engineers assessed that               14:05:53

17                  own public pronouncements about            14:05:56

18               positioning in the race, if you will,         14:06:00

19      or          capabilities were overblown.               14:06:03

20            Q.      Next bullet:                             14:06:08

21                    "Zebra's goal is to reinvent             14:06:10

22      completely the automobile"?                            14:06:12

23            A.      Yes.                                     14:06:12

24            Q.      That's referring to        ?             14:06:13

25            A.      It is.                                   14:06:14
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 39 of 64


                                                              Page 241
 1            Q.      And what did you rely on to make         14:06:15

 2      that statement?                                        14:06:18

 3            A.      Either a newspaper article or a          14:06:19

 4      tech blog or some such.                                14:06:22

 5            Q.      Last bullet says:                        14:06:26

 6                    "SSG's 2017 research will focus on       14:06:28

 7      Giraffe, Turtle, Zebra and Turtle/Chimp as well        14:06:30

 8      as competitors from Asia."                             14:06:35

 9                    Right?                                   14:06:36

10            A.      Yes.                                     14:06:36

11            Q.      Okay.                                    14:06:36

12                    And -- and so I take it that what        14:06:39

13      was being conveyed here was that, in the               14:06:44

14      following year in 2017, this Strategic Services        14:06:47

15      Group was going to focus its research on               14:06:51

16      Google, among others --                                14:06:54

17            A.      Yes.                                     14:06:54

18            Q.      -- correct?                              14:06:58

19            A.      Uh-huh.                                  14:06:58

20            Q.      And who -- was there someone             14:07:02

21      responsible for directing that that be a               14:07:05

22      priority for Uber?                                     14:07:09

23            A.      I'm sorry?                               14:07:13

24            Q.      That research on Google and these        14:07:14

25      other companies, that that was a priority for          14:07:16
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 40 of 64


                                                              Page 242
 1      Uber?                                                  14:07:19

 2              A.     That bullet statement was               14:07:19

 3      essentially a recommendation in the executive          14:07:22

 4      summary.     The requirement was to get as good a      14:07:25

 5      handle as we could on where the various                14:07:28

 6      competitors were.                                      14:07:30

 7                     As you can see, there's probably        14:07:31

 8      -- at the time, anyway, there's probably coming        14:07:34

 9      up on two dozen manufacturers or tech companies        14:07:37

10      that were involved in the autonomous vehicle           14:07:40

11      race.   Obviously, limited resources.     Who do we    14:07:42

12      focus on?    Focus on the leaders in the               14:07:45

13      industry.                                              14:07:48

14                     And so that last bullet statement       14:07:49

15      was more, again, a recommendation.      If             14:07:51

16      management or leadership wanted us to focus on         14:07:54

17      somebody else, we would.                               14:07:57

18              Q.     Did you come up with this               14:08:01

19      recommendation yourself, or did someone else           14:08:03

20      provide --                                             14:08:05

21              A.     I remember writing it.    I remember    14:08:06

22      Mr. Gicinto agreeing with it.                          14:08:08

23              Q.     All right.                              14:08:08

24                     If you look at the next slide,          14:08:13

25      which is titled, "Baseline Research."        First     14:08:14
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 41 of 64


                                                              Page 243
 1      bullet says:                                           14:08:17

 2                     "Source code, not hardware              14:08:18

 3      automotive design, is the key to success."             14:08:19

 4             A.      Right.                                  14:08:23

 5             Q.      And you wrote that bullet?              14:08:23

 6             A.      I did.                                  14:08:25

 7             Q.      And what was your statement based       14:08:26

 8      on?                                                    14:08:29

 9             A.      Interviews with our personnel in        14:08:29

10      ATG.                                                   14:08:32

11             Q.      Then the second bullet:                 14:08:33

12                     "All the source code necessary for      14:08:35

13      success can be compressed to 75 megabytes plus         14:08:36

14      or minus."                                             14:08:39

15                     Do you see that?                        14:08:41

16             A.      I do.                                   14:08:41

17             Q.      Was that also based on your             14:08:42

18      discussions with ATG personnel?                        14:08:43

19             A.      Yes.                                    14:08:43

20             Q.      And just, in general, you don't         14:08:56

21      believe any of the statements in this                  14:08:57

22      presentation are inaccurate.      Do you believe       14:08:59

23      them to be all accurate as far as you knew at          14:09:02

24      the time?                                              14:09:04

25             A.      As far as I knew at the time, yes.      14:09:04
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 42 of 64


                                                              Page 247
 1            A.      I have no understanding what             14:12:20

 2      Mr. Sullivan was thinking.                             14:12:22

 3            Q.      As far as you're aware sitting           14:12:23

 4      here today and looking at these slides, there's        14:12:25

 5      not any legal advice in these slides, is there?        14:12:27

 6            A.      No, there is not.                        14:12:30

 7            Q.      If you look at the slide marked          14:12:31

 8      939, which is the next to last slide.                  14:12:35

 9            A.      Right.                                   14:12:37

10            Q.      It's entitled, "Plans"?                  14:12:39

11            A.      Yes.                                     14:12:42

12            Q.      And it's -- the first bullet says:       14:12:42

13                    "For 2017, SSG's priority effort         14:12:44

14      will be Giraffe."                                      14:12:48

15            A.      Yes.                                     14:12:51

16            Q.      Explain to me what that means.           14:12:51

17            A.      That the bulk of our research            14:12:53

18      efforts would be tracking Giraffe's success or         14:12:55

19      efforts to improve its autonomous vehicle              14:12:58

20      program.                                               14:13:02

21            Q.      And why was it important for Uber        14:13:02

22      to track the success of Google's autonomous            14:13:04

23      vehicle program?                                       14:13:10

24            A.      Based on my understanding, because       14:13:10

25      Google was the leader in the field, and if Uber        14:13:12
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 43 of 64


                                                              Page 248
 1      was going to succeed or be the one to win the          14:13:14

 2      race, it wanted to have an understanding of how        14:13:18

 3      Giraffe was proceeding or progressing.                 14:13:23

 4               Q.   Was this your recommendation, to         14:13:26

 5      prioritize effort on Google's autonomous               14:13:27

 6      vehicle program for 2017?                              14:13:30

 7               A.   I honestly don't recall.     It          14:13:36

 8      wouldn't surprise me because it makes sense,           14:13:38

 9      but I also know how it was my understanding            14:13:40

10      that it was -- that Google was of high interest        14:13:45

11      and high priority to Mr. Sullivan and ATG              14:13:47

12      folks.                                                 14:13:51

13            Q.      Did Mr. Gicinto agree with your          14:13:54

14      recommendation here?                                   14:13:56

15            A.      I believe he did.    It's -- it's --     14:13:57

16      that's how we presented it.                            14:14:00

17            Q.      Were you part of the -- well,            14:14:09

18      first of all, are you aware of whether there           14:14:09

19      was a presentation by Mr. Gicinto to                   14:14:09

20      Mr. Sullivan about this slide deck?                    14:14:10

21            A.      I believe there was, yes.                14:14:13

22            Q.      Were you part of that?                   14:14:14

23            A.      I don't believe I was, no.               14:14:15

24            Q.      Do you know who was part of that         14:14:17

25      other than the two of them?                            14:14:18
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 44 of 64


                                                              Page 249
 1               A.     I do not.   I assume Mat Henley        14:14:20

 2      would have been part of it.                            14:14:22

 3               Q.     Did you talk to Mr. Gicinto about      14:14:23

 4      his presentation after he made it?                     14:14:26

 5               A.     I assume we did.   I mean, I don't     14:14:32

 6      remember specifics, but I'm sure we did.               14:14:34

 7               Q.     As a result of the meeting that        14:14:37

 8      Mr. Gicinto had with Mr. Sullivan about this           14:14:39

 9      Exhibit 9007, were there any changes to the            14:14:51

10      priorities or recommendations that are                 14:14:51

11      contained in this exhibit?                             14:14:53

12              A.    Not as I recall.                         14:14:55

13              Q.    So it was full steam ahead with          14:14:56

14      respect to the recommendations in this exhibit;        14:14:59

15      is that fair?                                          14:15:01

16              A.    Yes.                                     14:15:01

17              Q.    Did Mr. Gicinto convey to you            14:15:16

18      anything else, any details about his                   14:15:16

19      conversation with Mr. Sullivan about this slide        14:15:16

20      deck?                                                  14:15:19

21              A.    Not that I recall.    I mean, I          14:15:21

22      think your previous characterization's probably        14:15:23

23      pretty accurate.     At that point in time, just       14:15:26

24      continue to do the kind of research we'd been          14:15:28

25      doing.                                                 14:15:30
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 45 of 64


                                                              Page 252
 1            Q.      -- the number one priority is            14:43:29

 2      listed as source code?                                 14:43:31

 3            A.      Correct.                                 14:43:32

 4            Q.      What does that mean?                     14:43:32

 5            A.      Just that, to get a sense from any       14:43:36

 6      of the vendors that were there, anybody that           14:43:38

 7      was presenting, anything we could learn about          14:43:41

 8      people's opinions or thoughts on the importance        14:43:48

 9      of source code, et cetera.                             14:43:50

10            Q.      Well, you already knew that source       14:43:54

11      code at this time was important to autonomous          14:43:55

12      vehicles; correct?                                     14:43:58

13            A.      Correct.                                 14:43:59

14            Q.      So what specifically -- or why was       14:43:59

15      source code a priority in terms of collection?         14:44:02

16      What did that mean in terms of this document?          14:44:04

17            A.      One of the things we were                14:44:07

18      interested in is whether or not people                 14:44:09

19      were -- you know, other competitors were               14:44:10

20      struggling with their source code, were they           14:44:12

21      confident in it, that kind of thing.                   14:44:14

22            Q.      How would that -- why is                 14:44:17

23      that -- why was that important to Uber?                14:44:19

24            A.      Once again, give kind of a sense         14:44:21

25      of where Uber stood in the race, where other           14:44:24
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 46 of 64


                                                              Page 253
 1      competitors may stand in the race, whether             14:44:28

 2      they're confident, whether they're -- they're          14:44:29

 3      succeeding or not succeeding.                          14:44:32

 4             Q.     So other than collecting                 14:44:35

 5      information at CES about whether competitors           14:44:40

 6      were struggling with their source code, what           14:44:46

 7      else with respect to source code was Uber              14:44:48

 8      trying to assess or obtain at CES 2017 with            14:44:52

 9      respect to source code?                                14:44:57

10                    MR. UMHOFER:    Objection, calls for     14:45:00

11            speculation.                                     14:45:01

12            A.      Just what I said.    I mean, a sense     14:45:03

13      for where other -- other competitors are in            14:45:05

14      terms of their confidence in their -- their            14:45:07

15      source code and whether it's going to lead to          14:45:10

16      success.                                               14:45:12

17            Q.      How would you obtain information         14:45:13

18      about source code that was written by                  14:45:14

19      competitors at CES 2017?                               14:45:19

20            A.      To make sure I understand your           14:45:23

21      question correctly, we weren't looking to get          14:45:24

22      competitors' source code.     We were just looking     14:45:27

23      to get a sense for how confident they were in          14:45:29

24      it.   At a conference like that or a -- I mean,        14:45:31

25      it's a large-scale event.     You know, if any         14:45:35
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 47 of 64


                                                              Page 254
 1      vendors or any of the companies or competitors         14:45:40

 2      were sharing that information, we would be             14:45:43

 3      interested in it.                                      14:45:45

 4                     I mean, it's one of those -- an         14:45:47

 5      event like that is a place where, obviously,           14:45:49

 6      people come together.    They talk about their         14:45:51

 7      successes.     They try to showcase that -- their      14:45:53

 8      success, et cetera.                                    14:45:57

 9              Q.     So one way that you would try to        14:46:00

10      obtain information about competitors source            14:46:02

11      code was to talk to vendors or suppliers to            14:46:05

12      those competitors at CES 2017?                         14:46:08

13              A.     I don't know that vendors work on       14:46:12

14      source code.    Source code is -- you know,            14:46:14

15      that's, what do you call it, the -- internal to        14:46:17

16      a company, so --                                       14:46:20

17              Q.     So how would you get information        14:46:22

18      about source code?                                     14:46:24

19              A.     Well, let's back up.    We never        14:46:27

20      did.    The idea was that, should anybody be           14:46:29

21      discussing it, we would be listening.      But in      14:46:31

22      terms of like an active effort to do it, I             14:46:36

23      mean, that didn't take place.                          14:46:40

24              Q.     Let me make sure I understand           14:46:41

25      that.   This says:                                     14:46:42
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 48 of 64


                                                              Page 255
 1                    "Number one priority for                 14:46:43

 2      collection is source code at CES 2017."                14:46:45

 3                    So what was the method that Uber         14:46:49

 4      or your group would use to try to collect              14:46:56

 5      information about competitors' source code?            14:47:01

 6            A.      Again, when competitors, if they         14:47:05

 7      were giving a presentation, if they were               14:47:07

 8      discussing what their -- their plans or what           14:47:09

 9      they believed their successes were going to be,        14:47:13

10      to listen to that.                                     14:47:15

11                    I understand your question.     It       14:47:16

12      says, you know, number one is source code.             14:47:18

13      That's -- that goes back to the previous               14:47:20

14      analysis, correct, that everything hinges on           14:47:22

15      the source code.    So, again, are companies           14:47:25

16      comfortable with where they stand vis-à-vis            14:47:29

17      their source code?                                     14:47:31

18            Q.      So your intention in collecting          14:47:33

19      intelligence at CES 2017 with respect to source        14:47:36

20      code was to listen to what your competitors            14:47:39

21      were saying about their own source code?               14:47:43

22            A.      Yeah.   Back up.                         14:47:48

23                    If you -- again, intelligence, if        14:47:50

24      you're using that to mean protected                    14:47:52

25      information, yeah, that's not what we were             14:47:54
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 49 of 64


                                                              Page 256
 1      there for.     But we were there to listen to          14:47:56

 2      information, absolutely.                               14:47:58

 3            Q.       Well, whether it was confidential       14:47:59

 4      or not, I didn't limit it that way.      So let me     14:48:02

 5      just ask it again.                                     14:48:04

 6                     Was it -- was it your intention in      14:48:06

 7      collecting information at CES 2017, with               14:48:08

 8      respect to competitors' source code, simply to         14:48:12

 9      attend presentations that your competitors were        14:48:17

10      giving to see if they mentioned anything about         14:48:20

11      source code?                                           14:48:22

12            A.       Just that simple.                       14:48:23

13            Q.       Okay.                                   14:48:24

14                     And is it -- did -- were you            14:48:26

15      successful?    Did you hear any competitor talk        14:48:28

16      about source code at CES 2017?                         14:48:31

17            A.       No.                                     14:48:31

18            Q.       Was that a reasonable expectation       14:48:36

19      on your company's part or your group's part,           14:48:37

20      to -- to --                                            14:48:40

21            A.       Uh-huh.                                 14:48:41

22            Q.       -- expect that you would hear           14:48:42

23      about a competitor's source code directly from         14:48:44

24      the competitor?                                        14:48:46

25            A.       I would say, no, it wasn't a            14:48:47
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 50 of 64


                                                              Page 259
 1      things like that from other companies, but --          14:51:08

 2             Q.      The number one priority in terms        14:51:12

 3      of organizations was Google on the list;               14:51:14

 4      correct?                                               14:51:17

 5             A.      Yes.                                    14:51:17

 6             Q.      What information did Uber               14:51:20

 7      personnel obtain about Google at CES 2017, to          14:51:23

 8      your knowledge?                                        14:51:27

 9             A.      I don't recall us collecting            14:51:27

10      anything.                                              14:51:30

11             Q.      So in terms of the number one           14:51:31

12      priorities for collection and organizations,           14:51:33

13      it's your testimony that Uber obtained no              14:51:37

14      information at CES 2017 on those topics or             14:51:41

15      subjects; is that right?                               14:51:45

16             A.      Uh-huh, yes.                            14:51:46

17             Q.      Okay.                                   14:51:47

18                     So that was a failure?                  14:51:48

19             A.      You could characterize it that          14:51:49

20      way.                                                   14:51:51

21             Q.      What information with respect to        14:51:55

22      any of the other priorities for collection that        14:51:57

23      are listed here on Exhibit 9004 were obtained?         14:52:00

24             A.      I'm trying to remember the name of      14:52:10

25      the company.   There was a Korean company that         14:52:11
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 51 of 64


                                                              Page 265
 1      Vehicle Program?                                       14:58:58

 2            A.       I don't believe it did, no.             14:58:58

 3            Q.       Did you speak to Ms. Chung about        14:59:00

 4      this report?                                           14:59:01

 5            A.       Yes, we discussed it.                   14:59:02

 6            Q.       What did you discuss?                   14:59:04

 7            A.       Basically the -- the claims of the      14:59:14

 8      Jungsang CEO regarding his -- his product.             14:59:16

 9                     If I remember correctly, Anna           14:59:23

10      speculated that he was actually bragging and           14:59:25

11      that he didn't have -- or that Google had not          14:59:30

12      shown interest in his -- his LiDAR or                  14:59:33

13      Jungsang's LiDAR.                                      14:59:38

14                     If I remember correctly, her            14:59:43

15      assessment was that he was making that claim in        14:59:44

16      an effort to draw interest from investors and          14:59:48

17      other -- other folks.                                  14:59:51

18            Q.       Did you do any followup research        14:59:54

19      about this Korean company in order to verify           14:59:59

20      the claims that the CEO made or otherwise?             15:00:03

21            A.       No.                                     15:00:03

22            Q.       And this one has -- this report         15:00:17

23      has a -- again, a label created at the                 15:00:19

24      direction of legal?                                    15:00:22

25            A.       Right.                                  15:00:23
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 52 of 64


                                                              Page 278
 1      competitors' plans, intentions and                     15:15:51

 2      capabilities."                                         15:15:53

 3                    Do you see that?                         15:15:54

 4            A.      I do.                                    15:15:55

 5            Q.      And what did Mr. Ron instruct you        15:15:55

 6      with respect to the supply chain members?              15:15:58

 7            A.      The -- the only thing I recall           15:16:07

 8      from that is that -- and that's worded really          15:16:12

 9      weird.                                                 15:16:21

10                    The only thing I recall from that        15:16:22

11      is just if we were able to identify who the            15:16:23

12      various suppliers or vendors were of certain           15:16:25

13      technology.   Again, that would, as I understood       15:16:30

14      it, help Mr. Ron, Mr. Levandowski assess what          15:16:31

15      kind of direction whichever competitor, you            15:16:36

16      know, was taking in terms of their research.           15:16:38

17            Q.      And was one of the things that you       15:16:40

18      were planning to do to speak with any supply           15:16:42

19      chain vendors of your competitors that you             15:16:47

20      could identify to see if you could get any             15:16:49

21      information about your competitors?                    15:16:51

22            A.      No, I don't recall ever having           15:16:54

23      such a plan, and we never did that.                    15:16:55

24            Q.      Well, this says supply chain             15:16:58

25      members are chatty and are good sources of             15:16:59
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 53 of 64


                                                              Page 280
 1            A.        Say that question again.               15:18:01

 2            Q.        Sure.                                  15:18:03

 3                      Do you have any information about      15:18:07

 4      whether anyone in your group or outside of your        15:18:11

 5      group at Uber talked to supply chain members or        15:18:14

 6      vendors of Uber's -- strike that.      Let me          15:18:21

 7      rephrase that.                                         15:18:24

 8                      Do you have any understanding or       15:18:25

 9      information about whether anyone in your group         15:18:27

10      or outside of your group at Uber spoke to              15:18:31

11      vendors or suppliers to Uber's competitors in          15:18:35

12      the autonomous vehicle space in order to gain          15:18:44

13      information about those competitors?                   15:18:46

14            A.      Yeah, I have no knowledge of             15:18:50

15      anyone speaking to supply chain members or --          15:18:51

16            Q.      Okay.                                    15:18:51

17                    Did you speak to anyone on your          15:18:55

18      team about talking to supply chain members who         15:18:59

19      might be chatty or good sources of insight into        15:19:06

20      a competitor's plans?                                  15:19:07

21            A.      No, I don't recall having that           15:19:09

22      conversation.                                          15:19:10

23            Q.      Okay.                                    15:19:11

24                    And as far as you know, this was a       15:19:13

25      requirement that was never actually executed or        15:19:15
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 54 of 64


                                                              Page 295
 1      information in that deck about Uber's                  15:36:19

 2      competitors being reviewed with some of the            15:36:22

 3      members of ATG?                                        15:36:24

 4              A.     That's my recollection.                 15:36:25

 5              Q.     Let me show you previously marked       15:36:45

 6      Exhibit 9206.                                          15:36:45

 7                     [Document passed to the witness.]       15:36:46

 8              Q.     Have you seen this document             15:37:13

 9      before?                                                15:37:14

10             A.     Yes.                                     15:37:14

11             Q.     In what context?                         15:37:16

12             A.     As I recall, I prepared it shortly       15:37:19

13      after I was hired.                                     15:37:24

14             Q.     Did you give it to anyone else           15:37:26

15      in -- on your team?                                    15:37:28

16             A.     I submitted it to Mr. Gicinto,           15:37:29

17      yes.                                                   15:37:33

18             Q.     Did he give you feedback?                15:37:34

19             A.     Yeah, I mean, he thanked me for          15:37:36

20      the -- the document, and then that was about           15:37:39

21      it.    I don't -- I don't recall us ever doing         15:37:43

22      anything with it.                                      15:37:46

23             Q.     This says "Draft" on each page.          15:37:46

24      Do you recall whether there were other versions        15:37:48

25      of this document?                                      15:37:50
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 55 of 64


                                                              Page 296
 1              A.     As I recall, this was the only,         15:37:51

 2      the only one I prepared, and that's why it says        15:37:54

 3      draft because it never -- never went any               15:37:57

 4      further.                                               15:37:59

 5              Q.     Did Mr. Gicinto ask you to prepare      15:37:59

 6      this?                                                  15:38:03

 7              A.     Yes.                                    15:38:03

 8              Q.     And where did the information in        15:38:03

 9      this document come from?                               15:38:06

10              A.     Everything in this document would       15:38:10

11      have come from -- I'd have to read the -- the          15:38:12

12      whole thing.                                           15:38:15

13              Q.     Well, let me ask a different            15:38:28

14      question.                                              15:38:30

15              A.     Yes.                                    15:38:31

16              Q.     If you look at the -- on the            15:38:32

17      second page --                                         15:38:35

18              A.     Right.                                  15:38:35

19              Q.     -- it says "Collection strategy."       15:38:36

20      And what's that intended to convey?                    15:38:37

21              A.     Collection strategy.                    15:38:48

22                     [Pause.]                                15:38:48

23              A.     The whole -- it's intended to           15:39:13

24      convey just that, how we would do our research         15:39:15

25      into the various competitors.                          15:39:19
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 56 of 64


                                                               Page 304
 1            A.        Yes.                                   15:45:54

 2            Q.        And when was -- you said you wrote     15:45:55

 3      this document shortly after you joined Uber;           15:46:02

 4      correct?                                               15:46:04

 5            A.        Yes.                                   15:46:05

 6            Q.        And then how did you know that the     15:46:05

 7      number one collection objective would be to            15:46:07

 8      collect information about Google?       What led you   15:46:12

 9      to write this?                                         15:46:15

10            A.       That was conveyed to me by              15:46:16

11      Mr. Gicinto.    As I understand it, it was             15:46:18

12      conveyed to him by either Mr. Henley and/or            15:46:19

13      Mr. Sullivan.                                          15:46:22

14            Q.       And then under that heading of          15:46:23

15      Giraffe, it says:                                      15:46:26

16                     "What original equipment                15:46:28

17      manufacturers (OEM)" --                                15:46:29

18            A.       Yeah.                                   15:46:29

19            Q.       -- "is Giraffe partnering with?"        15:46:31

20                     Right?                                  15:46:33

21            A.       Yes.                                    15:46:33

22            Q.       Did you ever obtain any                 15:46:33

23      information about that?                                15:46:35

24            A.       No.     Beyond knowing Velodyne was     15:46:36

25      one of their suppliers, I don't recall                 15:46:41
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 57 of 64


                                                              Page 308
 1      a part in that, yeah.                                  15:49:25

 2              Q.    Sitting here today, you don't            15:49:27

 3      recall whether you ever did that with respect          15:49:28

 4      to Google or Waymo?                                    15:49:30

 5              A.    I honestly do not.                       15:49:31

 6              Q.    It says:                                 15:49:37

 7                    "Map the human terrain around each       15:49:38

 8      of the key personalities in the AV program."           15:49:41

 9              A.    Right.                                   15:49:44

10              Q.    What does that mean?                     15:49:44

11              A.    In short, if -- if you identify a        15:49:45

12      key person in a program, then who are their key        15:49:47

13      people around -- around them?     Who -- who           15:49:51

14      are -- who's their circle of folks they rely           15:49:53

15      upon?                                                  15:49:56

16              Q.    Was that ever done?                      15:50:03

17              A.    No, I don't recall ever doing            15:50:05

18      that.                                                  15:50:10

19              Q.    So it looks like a lot of these          15:50:11

20      collection objectives for Google were never            15:50:13

21      met.                                                   15:50:16

22              A.    Correct.                                 15:50:17

23              Q.    Were the collection objectives           15:50:26

24      with respect to Google modified at all or --           15:50:27

25      with respect to Waymo after the time that you          15:50:30
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 58 of 64


                                                              Page 310
 1             Q.     Under -- this is describing in           15:51:54

 2      more detail the collection plan; right?                15:51:57

 3             A.     Yes.                                     15:51:57

 4             Q.     And if you look at the next to           15:52:01

 5      last paragraph on that page, it says:                  15:52:03

 6                    "To succeed, our collection plan         15:52:05

 7      must be both broad and deep.     It must be broad      15:52:08

 8      enough to develop streams of reporting on at           15:52:10

 9      least six different competitors."                      15:52:12

10                    Right?                                   15:52:13

11             A.     Yes.                                     15:52:13

12             Q.     And then the next sentence says:         15:52:16

13                    "And the plan must be deep enough        15:52:19

14      to acquire in a timely manner meaningful               15:52:21

15      technical data and to identify legitimate              15:52:25

16      milestones on the road to AV Level 5."                 15:52:28

17                    Do you see that?                         15:52:31

18             A.     I do.                                    15:52:32

19             Q.     What was the technical data that         15:52:33

20      was sought that's referenced here?                     15:52:35

21             A.     When this was written, this was          15:52:38

22      purely conceptual.     Again, I'm not a technical      15:52:41

23      guy.   So conceptually it would be, you know,          15:52:45

24      that technical data that's important to the            15:52:47

25      programs.                                              15:52:52
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 59 of 64


                                                              Page 311
 1              Q.     Okay.                                   15:52:55

 2                     And do you know if any such             15:52:55

 3      technical data was ultimately obtained?                15:52:56

 4              A.     No, no.                                 15:52:58

 5              Q.     You don't know, or -- or is the         15:52:59

 6      answer no?                                             15:53:01

 7              A.     Well, I guess the answer is             15:53:06

 8      twofold.     I don't know, but I know I never did      15:53:07

 9      it and our team never did it.                          15:53:10

10              Q.     If you go to the next page, it          15:53:12

11      says:                                                  15:53:14

12                     "Two-Pronged Collection"                15:53:16

13              A.     Yes.                                    15:53:16

14              Q.     Under Prong One:                        15:53:18

15                     "Establish and Maintain the             15:53:20

16      Baseline"                                              15:53:21

17                     Right?                                  15:53:22

18              A.     Uh-huh.                                 15:53:23

19              Q.     And then if you look at -- number       15:53:23

20      1 says:                                                15:53:25

21                     "Open Source Research"                  15:53:26

22              A.     Uh-huh, yes.                            15:53:27

23              Q.     And then number 2 says:                 15:53:28

24                     "Internal Resources"                    15:53:32

25                     Number 2.                               15:53:33
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 60 of 64


                                                              Page 313
 1                     And -- so you're -- what you're         15:54:40

 2      saying -- we talked about Iden earlier;                15:54:40

 3      correct?                                               15:54:43

 4            A.       Right, yep.                             15:54:43

 5            Q.       And you had said that you believed      15:54:43

 6      all of these Idens, C, D, E, F, G and H, were          15:54:45

 7                 competitors?                                15:54:53

 8            A.       There were other competitors.     I     15:54:55

 9      believe the majority of them were            , yes.    15:54:57

10            Q.       But what you're saying here is          15:55:00

11      that Iden I and Iden J are -- are                      15:55:01

12      identifications of the ATG group at Uber --            15:55:06

13            A.       Uh-huh.                                 15:55:11

14            Q.       -- and the Otto company --              15:55:12

15            A.       Right.                                  15:55:12

16            Q.       -- respectively; is that right?         15:55:14

17            A.       Yes.                                    15:55:16

18            Q.       And then it says:                       15:55:21

19                     "The purpose of these meetings          15:55:22

20      will be to gather assessment on the claims of          15:55:23

21      competitors as to their progress in the AV             15:55:25

22      race" --                                               15:55:27

23            A.       Right.                                  15:55:27

24            Q.       -- "and then to identify which          15:55:27

25      specific techniques and technologies are likely        15:55:29
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 61 of 64


                                                              Page 314
 1      to lead to success and which are red herrings."        15:55:32

 2                     Do you know if this was done?           15:55:34

 3              A.     It was not done.                        15:55:35

 4              Q.     Do you know why?                        15:55:36

 5              A.     Yeah.   Again, this, this document      15:55:38

 6      I prepared at Mr. Gicinto's request last year.         15:55:41

 7      It was conceptual in nature, and most of what's        15:55:46

 8      in here we never did.    We didn't actually make       15:55:50

 9      any kind of concerted effort until after the           15:55:56

10      meeting with -- with Mr. Ron, and that's when          15:55:58

11      those requirements came in.                            15:56:00

12              Q.    Do you see that after internal           15:56:07

13      resources, there's a little asterisk?                  15:56:09

14              A.    Internal resources, little               15:56:09

15      asterisk.    Yes.                                      15:56:14

16              Q.    I'm looking at page 626.                 15:56:15

17              A.    Yes.                                     15:56:17

18              Q.    Okay.                                    15:56:17

19                    And does that asterisk refer to          15:56:17

20      what's on page 628, the asterisk there, the            15:56:19

21      note?                                                  15:56:23

22              A.    Yes.                                     15:56:35

23              Q.    Okay.                                    15:56:35

24                    And is what's being conveyed here        15:56:44

25      that when you're meeting with some of the              15:56:47
Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 62 of 64


                                                              Page 319
 1      employer?                                              16:01:45

 2            A.       We never did it, so the question        16:01:46

 3      is hypothetical.      But, of course, it would have    16:01:47

 4      mattered.                                              16:01:49

 5            Q.       Well, you were suggesting that          16:01:49

 6      that's one thing that should be done here in           16:01:51

 7      this document; right?                                  16:01:53

 8            A.       That could be done, sure.               16:01:54

 9            Q.       Okay.                                   16:01:54

10                     And did you discuss that with           16:01:56

11      Mr. Gicinto?                                           16:01:58

12            A.       I don't recall having that              16:02:02

13      discussion with him specifically, no.                  16:02:04

14            Q.       All right.                              16:02:04

15                     Do you recall having a discussion       16:02:08

16      with anyone in your group?                             16:02:11

17            A.       About that?                             16:02:12

18            Q.       Yes.                                    16:02:12

19            A.       No.    Again, I prepared this           16:02:14

20      document and shared it with Mr. Gicinto.               16:02:15

21      Essentially, I mean, it never really went              16:02:19

22      anywhere.   We never ended up doing or executing       16:02:21

23      any of this.                                           16:02:25

24            Q.       Well, you executed some of it?          16:02:27

25            A.       Some of it, yes.                        16:02:28
     Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 63 of 64
                   HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                         C E R T I F I C A T E
2
3                            I, PAUL J. FREDERICKSON, CA
4         Certified Shorthand Reporter No. 13164 and
5         WA Certified Court Reporter No. 2419, do
6         hereby certify:
7
8                            That prior to being examined,
9         the witness named in the foregoing
10        deposition was by me duly sworn or affirmed
11        to testify to the truth, the whole truth and
12        nothing but the truth;
13
14                           That said deposition was taken
15        down by me in shorthand at the time and
16        place therein named, and thereafter reduced
17        to print by means of computer-aided
18        transcription; and the same is a true,
19        correct and complete transcript of said
20        proceedings.
21
22                           I further certify that I am not
23        interested in the outcome of the action.
24
25

                                                               Page 366

                                Veritext Legal Solutions
                                     866 299-5127
     Case 3:17-cv-00939-WHA Document 2501-18 Filed 01/19/18 Page 64 of 64
                   HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                             Witness my hand this 21st day
2         of December 2017.
3
4
5                          <%signature%>
6                          PAUL J. FREDERICKSON, CCR, CSR
7                          WA CCR 2419            CA CSR 13164
8                        Expiration date:                  March 31, 2018
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

                                                                 Page 367

                                Veritext Legal Solutions
                                     866 299-5127
